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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DERRICK ALLEN,                                         )
                                                       )
                       Plaintiff,                      )
                                                       )
               v.                                      )       Civil Action No. 25-0267 (UNA)
                                                       )
DURHAM TECHNICAL COMMUNITY                             )
COLLEGE, et al.,                                       )
                                                       )
                       Defendants.                     )


                                    MEMORANDUM OPINION

       This matter is before the Court on plaintiff’s application to proceed in forma pauperis and

his pro se complaint. The Court GRANTS the application and, for the reasons discussed below,

DISMISSES the complaint without prejudice.

       Plaintiff brings this action against Durham Technical Community College (“DTCC”),

Guilford Technical Community College (“Guilford”), and Guilford’s Director and legal counsel.

See Compl. at 2-3, 5. He alleges he was expelled from DTCC, later attended classes at Guilford,

and was denied “a certificate in paralegal technology when [he] graduated from [Guilford.]” Id.

at 5. He demands “compensate[ion] in the amount of 48 Trillion dollars.” Id. at 6.

       The subject matter jurisdiction of the federal district courts is limited and is set forth

generally at 28 U.S.C. §§ 1331 and 1332. Under these statutes, federal jurisdiction is available

when a “federal question” is presented or when the parties are of diverse citizenship and the

amount in controversy exceeds $75,000. A party seeking relief in the district court must at least

plead facts that bring the suit within the Court’s jurisdiction. See FED. R. CIV. P. 8(a).




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       Notwithstanding plaintiff’s reliance on 42 U.S.C. § 1983, see Compl. at 3, this complaint

does not present a federal question, and “[t]he mere suggestion of a federal question is not

sufficient to establish the jurisdiction of federal courts.” Johnson v. Robinson, 576 F.3d 522, 522

(D.C. Cir. 2009) (citing Bilal v. Kaplan, 904 F.2d 14, 15 (8th Cir.1990) (per curiam)). Nor does

the complaint demonstrate diversity jurisdiction. Each party’s “citizenship . . . must be distinctly

alleged [in the complaint] and cannot be established presumptively or by mere inference.” Meng

v. Schwartz, 305 F. Supp. 2d 49, 55 (D.D.C. 2004) (citation omitted). While all the defendants

appear to reside or conduct business in North Carolina, plaintiff does not state his residence or

citizenship.

       The Court concludes that this federal district court lacks subject matter jurisdiction and,

therefore, the complaint will be dismissed without prejudice. An Order is issued separately.



                                                      /s/
                                                      RUDOLPH CONTRERAS
                                                      United States District Judge
DATE: February 18, 2025




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